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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

FTX TRADING LTD., et al., 1                                      Case No. 22-11068 (JTD)

         Debtors.                                                (Jointly Administered)



ALAMEDA RESEARCH LLC, FTX
TRADING LTD., WEST REALM SHIRES,
INC., AND WEST REALM SHIRES
SERVICES INC. (D/B/A FTX.US),

         Plaintiffs,
                                                                 Adv. Pro. No. 23-50419 (JTD)
         v.

DANIEL FRIEDBERG,
                                                                 Adv. Ref. Nos. 1, 6, 7, 8 & 9
         Defendant.


                  ORDER APPROVING SECOND STIPULATION FOR
          EXTENSION OF TIME FOR DEFENDANT TO RESPOND TO COMPLAINT

         Upon the Certification of Counsel and the Second Stipulation for Extension of Time for

Defendant to Respond to Complaint (the “Stipulation”) 2 entered into between Plaintiffs,

Alameda Research LLC, FTX Trading Ltd., West Realm Shires, Inc., and West Realm Shires

Services Inc. (d/b/a FTX.US), and Defendant Daniel Friedberg, a copy of which is attached

hereto as Exhibit A; and the Bankruptcy Court having jurisdiction to consider approval of the

Stipulation; and it appearing that sufficient notice of the Stipulation has been given; and after due

deliberation; and good and sufficient cause appearing therefore;

1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
    Terms utilized but not otherwise defined herein shall have the meanings ascribed to them in the Stipulation.


{1368.002-W0072815.}
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               IT IS HEREBY ORDERED THAT:

               1.      The Stipulation is APPROVED.

               2.      This Bankruptcy Court shall retain jurisdiction with respect to all matters

arising from or related to the implementation or interpretation of this Order and the Stipulation.




       Dated: October 6th, 2023                          JOHN T. DORSEY
       Wilmington, Delaware                              UNITED STATES BANKRUPTCY JUDGE




                                                 2
